Case: 1:22-cv-06141 Document #: 206 Filed: 10/09/24 Page 1 of 1 PageID #:1681

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.2
                               Eastern Division

Daniel Rodriguez
                                  Plaintiff,
v.                                                    Case No.: 1:22−cv−06141
                                                      Honorable Edmond E. Chang
Reynaldo Guevara, et al.
                                  Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, October 9, 2024:


        MINUTE entry before the Honorable Beth W. Jantz: The Court is in receipt of
Plaintiff's counsel's Declaration [205] which states that service of the Motion for a
Contempt Order and Writ of Body Attachment [186] and the Court's Order [202] on Mr.
Rivera was unsuccessful. Plaintiff shall again attempt service of the Court's Order [202]
and his Motion [186], as well as this Order, by 10/16/24. By 10/22/24, Plaintiff shall file a
declaration of service, which should clearly state how service met the requirements for
service under Local Rule 37.1 and FRCP 4. If Plaintiff is unable to sufficiently serve Mr.
Rivera, by 10/22/24, he may instead file a motion for alternative service, which should
include any authority for the Court to grant such relief. Due to the unsuccessful service,
Mr. Rivera now has until 11/5/24 to purge himself of contempt by sitting for his
deposition ahead of that date. If Mr. Rivera has not complied or filed anything with the
Court by 11/5/24, Plaintiff shall submit his proposed order. The Court will then grant
Plaintiff's Motion [186], hold Mr. Rivera in contempt, and issue a writ of body of
attachment, directing the U.S. Marshals Service to bring him to the courthouse to sit for
his deposition on a date requested by the parties to the extent practicable. Mailed notice.
(as, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
